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 1                                                                Honorable Judge Barbara J. Rothstein

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                        SEATTLE DIVISION
 9   SHANNON SPENCER, individually and on                  Case No. 2:23-cv-01757-BJR
     behalf of all others similarly situated,
10                                                         DEFENDANT JELD-WEN, INC.’S
                    Plaintiff,                             REPLY IN SUPPORT OF ITS
11          vs.                                            COMBINED MOTION TO DISMISS
                                                           PURSUANT TO FRCP RULE 12(b)(6)
12   JELD-WEN, INC., a foreign profit                      AND MOTION TO STRIKE
     corporation doing business as JELD-WEN;               PURSUANT TO FRCP RULE 12(f)
13   and DOES 1-20,
                    Defendants.
14

15          Defendant JELD-WEN, Inc. (“Defendant”) submits this Reply in Support of its Combined

16   Motions to Dismiss Pursuant to FRCP Rule 12(b)(6) and Strike Pursuant to FRCP Rule 12(f), and

17   states as follows:

18                                           INTRODUCTION

19          Plaintiff failed to plead facts showing that he is entitled to relief for alleged violations of

20   the job posting rules of the EPOA for two key reasons. First, Plaintiff failed to plead facts showing

21   that he was a bona fide applicant for a position with Defendant. Instead, Plaintiff contends that

22   such facts do not matter, and that employers like Defendant are strictly liable to anyone who

23   submits a job application. But the Legislature never intended RCW 49.58.110 to be so expansive,

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 1   and Plaintiff’s interpretation would lead to absurd and unintended results. In fact, in likely

 2   recognition of the spate of RCW 49.58.110 class actions, on January 12, 2024, a bipartisan group

 3   of representatives offered an amendment to RCW 49.58.110, which would, among other things,

 4   define “job applicant” to mean “a person who has made and submitted a bona fide application for

 5   employment […].”       See HB 2349, https://lawfilesext.leg.wa.gov/biennium/2023-24/Pdf/Bills/

 6   House%20Bills/2349.pdf. It would also create a safe harbor for employers to cure allegedly

 7   defective job postings. Second, aside from the fact that Plaintiff failed to plead facts showing that

 8   he is entitled to relief for alleged violations of the job posting rules of the EPOA, Plaintiff is not

 9   entitled to file a civil action under the EPOA. The EPOA authorizes job applicants to pursue a

10   remedy for alleged violations of RCW 49.58.110 only before the Washington State Department of

11   Labor & Industries (“L&I”).

12          Additionally, while Plaintiff claims it would be premature to strike his class allegations,

13   Plaintiff’s Opposition (“Opp.”) does not dispute that he and the putative class members are subject

14   to unique and individualized defenses, such as whether each one of them is a bona fide applicant

15   for employment. This question cannot be answered on a class-wide basis, but rather, requires a

16   case-by-case assessment of each applicant. This reality is apparent based on the face of the

17   Complaint.

18          For the foregoing reasons, and others below, the Complaint should be dismissed with

19   prejudice. If the Complaint is allowed to survive, then the class allegations should be stricken, or

20   in the very least, limited to the position for which Plaintiff applied.

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 1                                            ARGUMENT
            A.      Plaintiff Failed to Allege that He Was a Bona Fide Applicant for a Position
 2
                    with Defendant.
 3          In the Opp., Plaintiff does not dispute (nor could he) that his Complaint contains no

 4   allegations that he was a bona fide “applicant” who had a good-faith intent to gain employment

 5   with Defendant. See Dkt. 17 at 7–9. Instead, Plaintiff argues that he “need not allege ‘intent’ to

 6   accept a position if it is offered because this element does not exist within the text of RCW

 7   49.58.110.” Opp. at 6. This mischaracterizes Defendant’s position.

 8          What Defendant actually argued is that the EPOA requires “applicants” to have an intent

 9   to gain employment necessary to qualify for the remedies under RCW 49.58.110. This is

10   established by both the legislative history and guidance from L&I. See S.B. Rep. ESSB 5761, at

11   3 (“Many candidates spend hours going through rounds of interviews only to find out they can’t

12   live on the offered pay. It is also an equity issue, punishing women and people of color because

13   they get punished for negotiating where white men are rewarded for the same thing.”); Dkt. 8, ¶ 4,

14   Ex. C (“L&I will investigate complaints filed by applicants who have applied to a job in good faith

15   with the intent of gaining employment.”). Plaintiff’s failure to address this argument results in a

16   waiver and should be dispositive. See Thomas v. State Farm Mut. Auto. Ins. Co., 2023 U.S. Dist.

17   LEXIS 49836, *5 (W.D. Wash. Mar. 23, 2023) (arguments not addressed in opposition to motion

18   to dismiss are waived).

19          Regardless, Plaintiff repeatedly concedes in the Opp. that the applicant’s intent matters

20   under the EPOA. For example, he argues that the Court should infer that he “intended to accept if

21   his wage requirements were met.” Opp. at 8. Indeed, Plaintiff even submitted a Declaration with

22   an allegation about his “intent.” Dkt. 18, ¶ 15. As exhibited by the Declaration, Plaintiff knows

23   that his intent to gain employment in Washington is an essential element that he was required to

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 1   allege, yet nothing in the Complaint contains such an allegation. Thus, by failing to allege that he

 2   applied in good faith with the intent of gaining employment, Plaintiff has failed to establish that

 3   he is a bona fide “applicant” under RCW 49.58.110. As further explained below, Plaintiff should

 4   now be estopped from attempting to do so in a desperate, eleventh-hour Declaration in opposition

 5   to a motion to dismiss. This is a textbook failure to state a claim under Rule 12(b)(6), thus requiring

 6   dismissal.

 7          The parties to this litigation agree that the question of who is an “applicant” is an issue of

 8   first impression under the EPOA, and Defendant requests that this Court resolve this ambiguity by

 9   considering the plain language of the statute, the intent of the statute, and agency interpretation of

10   who is an applicant and who may pursue a private right of action. On the other hand, Plaintiff

11   argues that the EPOA creates strict liability for employers and that anyone, anywhere who submits

12   an application, regardless of intent or qualifications, is entitled to at least $5,000. As was set forth

13   in Defendant’s Motion to Dismiss, Plaintiff’s reading of the law does not advance the legislative

14   intent of the EPOA and creates perverse incentives for individuals to apply for jobs without an

15   intent to work the job. The result Plaintiff advocates for in this instance is absurd and Plaintiff

16   does not, because he cannot, refute that it will result in absurd results.

17          Plaintiff further argues that, without a definition of “applicant” in the statute, the Court

18   should grant the broadest possible definition of the term, and ignore anything that L&I has to say

19   about it. Contrary to Plaintiff’s position, Defendant requests that this Court, consistent with the

20   duty of courts to avoid absurd results to achieve the legislature’s intent, analyze the language of

21   the EPOA and apply the definition of “applicant” used by L&I. Here, the legislative intent is to

22   close the wage gap among “workers in Washington” by facilitating a discussion “at the start of the

23   process instead of after an offer has been made” and to prevent “candidates [from] spend[ing]

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 1   hours going through rounds of interviews only to find out they can’t live on the offered pay.”

 2   Motion (Dkt. 7), p. 3-4. To achieve that legislative intent, L&I interpreted that to mean that it only

 3   “applies to Washington based employees and applicants” and that a “person is only considered an

 4   ‘applicant’ for the specific posting(s) they applied for, not every available job of the employer.”

 5   Id. L&I further explained this to mean that applicants are only those “who have applied to a job

 6   in good faith with the intent of gaining employment.” Id.

 7          Here, we know Plaintiff is a serial litigant who has filed at least five other lawsuits currently

 8   pending in the USDC Western District of Washington alleging the same alleged violations against

 9   various employers. See Spencer v. Providence St. Joseph Health Foundation et al., 2:23-cv-

10   01723-BJR; Spencer v. Conifer Revenue Cycle Solutions, LLC, 2:23-cv-01790-BJR; Spencer v.

11   RXO, Inc. et al, 2:23-cv-01760-TSZ; Spencer v. BNY Mellon Securities Corporation et al, 2:23-

12   cv-01767-BJR; Spencer v. Walmart, Inc., 2:23-cv-01793-BJR. He also has two other cases that

13   were filed in the King County, Washington Superior Court alleging identical allegations and

14   claims. See Spencer v. MasterCard International Inc., King County Case No. 23-2-19564-7;

15   Spencer v. Washington Federal Bank, King County Case No. 19395-4.

16          To establish that he has a good faith intent to work for Defendant, Plaintiff submitted a

17   Declaration in support of his argument that he had a good faith intent to accept the job at Defendant

18   even though he denies those elements are required to be an applicant under the EPOA and asks

19   that the Court ignore that agency interpretation. Where there is ambiguity as to the language in a

20   statute, as there is here, courts should afford substantial weight to the agency’s interpretation. Port

21   of Tacoma v. Sacks, 495 P.3d 866, 874 (Wash. Ct. App. 2021); State v. Numrich, 480 P.3d 376,

22   385 (Wash. 2021); Huntley v. Bonner’s, Inc., 2003 U.S. Dist. LEXIS 26643, *12 n.4 (W.D. Wash.

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 1   Aug. 14, 2003) (quotation omitted). Defendant asks that this Court give such weight to the L&I’s

 2   interpretation of who is an applicant.

 3          B.      Plaintiff’s Statutory Right to “Remedies” Does Not Also Create the Right to
                    File a Private Cause of Action.
 4
            Presumably because he does not like L&I’s interpretation, Plaintiff asks the Court to ignore
 5
     L&I’s interpretation of “applicant” (as discussed above) and he claims that L&I has no authority
 6
     to interpret the remedies provisions of the EPOA. This argument ignores what remedies are
 7
     available to Plaintiff and what course of action a job applicant may use to obtain those remedies.
 8
     The EPOA only provides that the remedies available in certain sections may be available to job
 9
     applicants and employees. RCW 49.58.110. The remedies sections of the EPOA outline what
10
     remedies may be available through a complaint with L&I (RCW 49.58.060) and what remedies
11
     may be available through a private right of action. (RCW 49.58.070). L&I interpreted this to mean
12
     that “[e]mployees and job applicants who believe their rights under the Equal Pay and
13
     Opportunities Act have been violated may file a complaint with L&I.” Declaration of Adam T.
14
     Pankratz at Exhibit A, Equal Pay and Opportunities Act, (RCW 49.58) Employer’s Guide at 7
15
     (emphasis added). Whereas, an “employee can file a complaint with L&I for violation of the Equal
16
     Pay and Opportunities Act or bring a civil action against an employer. . . .” Id. at 9 (emphasis
17
     added). Based on the text, the right to file a private right of action is afforded only to employees.
18
     This interpretation should be granted substantial weight. See e.g., Port of Tacoma v. Sacks, 495
19
     P.3d 866, 874 (Wash. Ct. App. 2021 (deferring to L&I’s interpretation)). Thus, it is unmistakable
20
     that the right to file a private right of action is afforded only to employees.
21
            Yet, Plaintiff, as an alleged job applicant, is attempting to pursue a private right of action
22
     under RCW 49.58.070, a right he was not granted by the Legislature. The different methods to
23
     seek remedies that may be available to different classes of individuals (employees versus job
24
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 1   applicants) is recognized by L&I and is consistent with a plain reading of the EPOA. In other

 2   words, applicants and employees are thus entitled to essentially the same relief, though the

 3   Legislature decided to provide different procedural means for them to obtain that relief. Even if

 4   he was a bona fide applicant (and he is not), Plaintiff is not entitled to bring a private cause of

 5   action because he was not granted such a right by the EPOA. See Alexander v. Sandoval, 532 U.S.

 6   275, 286-87 (2001) (holding that there is no private right of actions unless Congress intended to

 7   create such a right); Sanai v. Sanai, No. CO2-2165Z, 2005 WL 1172437 at *18 (W.D. Wash. May

 8   18, 2005) (“The Court cannot create a private cause of action where it does not exist in the

 9   statute.”).

10           For the reasons in Defendant’s Motion (Dkt. 7) and as outlined herein, Defendant requests

11   that this Court grant the Motion to Dismiss as to Count I of the Complaint.

12           C.     Plaintiff’s Alleged Injuries are Speculative and Not Injuries In Fact.

13           For purposes of Article III standing, Plaintiff “must have suffered an ‘injury in fact’—an

14   invasion of a legally protected interest which is (a) concrete and particularized; and (b) actual or

15   imminent, not conjectural or hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)

16   (cleaned up). He does not meet this requirement merely because a statute “purports to authorize

17   [him] to sue to vindicate [a] right.” Spokeo, Inc. v. Robins, 578 U.S. 330, 341 (2016), as revised

18   (May 24, 2016).

19           Here, Plaintiff failed to plead facts supporting an injury in fact. While he claims that harm

20   was caused to his pay, promotions, and career as a result of not being privy to the wage, in reality,

21   Plaintiff only submitted an application. He was not interviewed or offered a job, and as such, the

22   alleged harm is merely speculative. Such is insufficient to confer standing to bring this lawsuit.

23   Johnson v. Weinberger, 851 F.2d 233, 235 (9th Cir. 1988) (standing not found “[w]hen

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 1   ‘speculative inferences’ are necessary . . . to establish either injury or the connection between the

 2   alleged injury and the act challenged. . . .”).

 3           D.      Plaintiff Abandoned Counts II and III and They Should Be Dismissed.

 4           Defendant argued in its opening brief that Counts II and III of the Complaint seeking

 5   injunctive and declaratory relief should be dismissed. (Dkt. 7). Plaintiff did not respond to these

 6   arguments (see generally Dkt. 17). Accordingly, Plaintiff abandoned those claims and they should

 7   be dismissed with prejudice. See e.g., NW Monitoring LLC v. Hollander, 534 F. Supp. 3d 1329,

 8   1344 (W.D. Wash. Apr. 15, 2021) (dismissing certain claims with prejudice after finding plaintiff

 9   abandoned those claims by failing to respond to the motion to dismiss); Lopez v. Wendy’s Int’l,

10   No. CV 11-00275 MMM (JCx), 2012 U.S. Dist. LEXIS 196652, at *17 (C.D. Cal. Sept. 18, 2012)

11   (“The court also notes that plaintiff failed to respond to defendant’s motion to dismiss her

12   injunctive relief prayer. Her request for such relief is thus abandoned, and the dismissal is with

13   prejudice.”).

14           E.      Defendant’s Motion to Strike Should be Granted.

15           Plaintiff’s only response to Defendant’s motion to strike is that it would be premature to

16   dismiss his class allegations at the pleading stage. He is wrong for three reasons.

17           First, Fed. R. Civ. P. 23(c)(1)(A) requires the consideration of class issues “[a]t an early

18   practicable time after a person sues […] as a class representative. . . .” Importantly, Rule 23 does

19   not require discovery or a motion for class certification. In fact, district courts across the country

20   have stricken class allegations where certifiability issues were present at the outset. See, e.g.,

21   Oom v. Michaels Cos. Inc., No. 1:16-cv-257, 2017 WL 3048540, at *4-*5 (W.D. Mich. July 19,

22   2017) (granting motion to strike where “fail-safe” class definition included “only those customers

23   that Plaintiffs claim are entitled to relief” and where class could not satisfy typicality,

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 1   commonality, or predominance requirements of Rule 23); Edwards v. Zenimax Media Inc., No.

 2   12-CV-00411-WYD-KLM, 2012 WL 4378219, at *5 (D. Colo. Sept. 25, 2012) (granting motion

 3   to strike where overbroad class included persons who purchased product “regardless of whether

 4   he or she was ever injured”); Lawson v. Life of the S. Ins., Co., 286 F.R.D. 689, 697 (M.D. Ga.

 5   2012) (granting motion to strike where plaintiff could not satisfy predominance requirement as a

 6   matter of law); Vandenbrink v. State Farm Mut. Auto. Ins. Co., No. 8:12-CV-897-T-30TBM, 2012

 7   WL 3156596, at *3 (M.D. Fla. Aug. 3, 2012) (striking class allegations where critical issues to be

 8   resolved “will be individual in nature”); MRI Assocs. of St. Pete, Inc. v. State Farm Mut. Auto. Ins.

 9   Co., 755 F. Supp. 2d 1205, 1207-08 (M.D. Fla. 2010) (dismissing class allegations as

10   “inappropriate” where claims arose from individualized benefits determinations). Thus, Plaintiff’s

11   claim of prematurity is unpersuasive.

12           Second, aside from his claim of prematurity, Plaintiff has simply offered nothing to dispel

13   the certifiability issues in his claim, which are present at the outset. Most importantly, if

14   Defendant’s theory of liability is correct, then Plaintiff and the putative class members are subject

15   to unique and individualized defenses, including whether each is a bona fide applicant for

16   employment. This determination must be made on a case-by-case basis and based on a number of

17   individualized questions, such as whether the applicant is qualified for the position, whether the

18   applicant is genuinely interested in the role, and whether the applicant intends to gain

19   employment. The reality is that each individual will have different answers to these questions,

20   which will give rise to individualized defenses to the claims of Plaintiff and the putative class

21   members. In other words, the question cannot be answered as to all in one fell swoop. No

22   discovery is necessary to recognize this fact, and as a result, the class allegations should be stricken

23   at this early stage.

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 1          Third, as shown above, contrary to Plaintiff’s position, L&I is empowered to enforce and

 2   interpret RCW 49.58.110. In doing so, L&I limited the standing of job applicants to the position

 3   for which they applied. Here, Plaintiff seeks to represent a class of applicants who applied for

 4   positions that are different than the one for which he applied. As set forth in Administrative Policy

 5   Number ES.E.1, L&I explained that “[a] person is only considered an “applicant” for the specific

 6   posting(s) they applied for, not for every available job of the employer.” Thus, if an applicant is

 7   authorized to bring a civil action for a claim under RCW 49.58.110 (which they are not as

 8   described above), then they would be authorized to do so only as to the specific job posting for

 9   which they applied.      Because Plaintiff did not apply for every job posting of Defendant

10   encompassed by his overly-broad Class Definition, he is not an applicant for them, and thus, he is

11   not authorized to pursue a civil action as it relates to those job postings for which he did not apply.

12   Therefore, in the very least, Plaintiff’s Class Definition should be limited to the specific job posting

13   for which he applied.

14                                             CONCLUSION

15          For the reasons set forth above, Plaintiff has failed to state a claim for relief and his

16   Complaint should be dismissed pursuant to Rule 12(b)(6). The undisputed evidence confirms that

17   there is no basis-in-fact for Plaintiff’s claims in this lawsuit. Defendant, therefore, respectfully

18   requests that the Court grant its Combined Motions to Dismiss and Strike in its favor, and issue

19   such other relief as the Court deems just and appropriate.

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 1          Respectfully submitted this 2nd day of February, 2024.

 2   I certify that this memorandum contains        OGLETREE, DEAKINS, NASH, SMOAK &
     3,002 words, in compliance with the            STEWART, P.C.
 3   Local Civil Rules.
                                                    By: /s/ Adam T. Pankratz
 4                                                     Adam T. Pankratz, WSBA #50951
                                                       1201 Third Avenue, Suite 5150
 5                                                     Seattle, WA 98101
                                                       Telephone: (206) 693-7057
 6                                                     Facsimile: (206) 693-7058
                                                       Email: adam.pankratz@ogletree.com
 7
                                                    OGLETREE, DEAKINS, NASH, SMOAK &
 8                                                  STEWART, P.C.
                                                    By: /s/ Mathew A. Parker
 9
                                                       Mathew A. Parker, OSBA #0093231
                                                       (appearing pro hac vice)
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                                                       The KeyBank Building
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12
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13
                                                    Attorneys for Defendant JELD-WEN, Inc.
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on February 2, 2024, I served the foregoing DEFENDANT JELD-

 3   WEN, INC.’S REPLY IN SUPPORT OF ITS COMBINED MOTION TO DISMISS PURSUANT

 4   TO FRCP RULE 12(b)(6) AND MOTION TO STRIKE PURSUANT TO FRCP RULE 12(f) via

 5   the method(s) below to the following parties:

 6           Timothy W. Emery, WSBA #34078
             Patrick B. Reddy, WSBA #34092
 7           Paul Cipriani Jr., WSBA #59991
             EMERY | REDDY PLLC
 8           600 Stewart Street, Suite 1100
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 9           Telephone: (206) 442-9106
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10           Email: emeryt@emeryreddy.com
                       reddyp@emeryreddy.com
11                     paul@emeryreddy.com
             Attorneys for Plaintiff Shannon Spencer
12

13
           by electronic means through the Court’s Case Management/Electronic Case File system,
            which will send automatic notification of filing to each person listed above.
14
           by mailing a true and correct copy to the last known address of each person listed above.
15          It was contained in a sealed envelope, with postage paid, addressed as stated above, and
            deposited with the U.S. Postal Service in Seattle, Washington.
16
           by e-mailing a true and correct copy to the last known email address of each person listed
17          above.

18          SIGNED THIS 2nd day of February, 2024 at Seattle, Washington.

19                                                     OGLETREE, DEAKINS, NASH, SMOAK
                                                       & STEWART, P.C.
20                                                     By: /s/ Cheryl L. Kelley
                                                          Cheryl L. Kelley, Practice Assistant
21                                                        cheryl.kelley@ogletree.com
22

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     DEFENDANT JELD-WEN, INC.’S REPLY IN             OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     SUPPORT OF ITS COMBINED MOTIONS                        1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     TO DISMISS AND STRIKE - 12                                      Phone: 206-693-7057 | Fax: 206-693-7058
     Case No. 2:23-cv-01757-BJR
